           Case 1:19-cv-11314-PBS  Document
                          UNITED STATES     98 Filed
                                        DISTRICT     12/27/19 Page 1 of 1
                                                  COURT
                                  DISTRICT OF MASSACHUSETTS

                     CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                               ABBREVIATED ELECTRONIC RECORD


Case Caption:                     Brito et al v. Barr et al
                                  __________________________________________________________

District Court Number:            1:19-cv-11314-PBS
                                  __________________________________________________________


Fee:    Paid?         X
                 Yes ____                                                              X
                          No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


Motions Pending                        X
                          Yes ____ No ____                  Sealed documents               X No ____
                                                                                     Yes ____
If yes, document #        _______________                   If yes, document #       25, 26, 60, 61
                                                                                     _______________

Ex parte documents                     X
                          Yes ____ No ____                  Transcripts                    X No ____
                                                                                     Yes ____
If yes, document #        _______________                   If yes, document #       38, 64, 84
                                                                                     _______________


                                                 X
Notice of Appeal filed by: Plaintiff/Petitioner ____   Defendant/Respondent ____ Other: ____

Appeal from:
# 88 Memorandum and Order
Other information:




        I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
hereby certify that the annexed electronic documents:

# 88
with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
the Notice of Appeal # ________
                        97         filed on__________________.
                                           12/26/2019


                                                                                         12/27/2019
        In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                            ROBERT M. FARRELL
                                                            Clerk of Court


                                                            /s/ Arnold Pacho
                                                            ____________________________
                                                            Deputy Clerk




COURT OF APPEALS DOCKET NUMBER ASSIGNED: ____________________________


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